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 2                                  IN THE UNITED STATES DISTRICT COURT
 3                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 4
 5   UNITED STATES OF AMERICA,                              CASE NO. F CR-06-342-LJO
 6                    Plaintiff-Respondent,                 ORDER FOR OPPOSITION
 7           vs.
 8   RICARDO RUIZ MONTES,
 9                    Defendant-Petitioner.
10                                                 /
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12           Petitioner Ricardo Ruiz Montes (“Mr. Montes”) is a federal prisoner and proceeds pro se to seek
13   to vacate, set aside or correct his sentence pursuant to 28 U.S.C. § 2255 (“section 2255"). Having read
14   and reviewed Mr. Montes’ section 2255 motion, this Court finds that an opposition by the government
15   would assist this Court to determine the issues raised by Mr. Montes. Accordingly, this Court
16   ORDERS the government, no later than, May 23, 2012, to file and serve an opposition to this
17   motion. This Court shall take this motion under submission after the opposition is filed and received
18   by this Court. No further submissions shall be accepted, unless further ordered by this Court. In
19   addition, no hearing is set in this matter.
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24                    IT IS SO ORDERED.
25   Dated:        April 23, 2012                       /s/ Lawrence J. O'Neill
     b9ed48                                        UNITED STATES DISTRICT JUDGE
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